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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 DAVID M. LIEBMAN, on behalf of himself and
 those similarly situated,                              Civil Action No.:

                           Plaintiff,
                                                                NOTICE OF REMOVAL
        vs.

 FINANCIAL RECOVERY SERVICES, INC.;
 LVNV FUNDING, LLC; and JOHN DOES 1 to
 10,
                           Defendants.


       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendants Financial Recovery Systems, Inc.

(“FRS”) and LVNV Funding, LLC (“LVNV”) (collectively “Defendants”), by and through their

attorneys, Gordon Rees Scully Mansukhani LLP, jointly and collectively file this Notice of

Removal for the above-captioned case, removing this case from the Superior Court of New Jersey,

Essex County, Law Division, Docket No.: ESX-L-005372-21 to the United States District Court

for the District of New Jersey. Defendants respectfully represent and state as follows:

       1.      On July 8, 2021, Plaintiff David M. Liebman commenced this action by filing a

Complaint in the Superior Court of New Jersey, Essex County, Law Division, ESX-L-005372-21,

captioned David M. Liebman, on behalf of himself and those similarly situated v. Financial

Recovery Systems, Inc., et al. A copy of the Complaint is annexed hereto as Exhibit A.
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       2.      In accordance with 28 U.S.C. § 1446(a) the Complaint constitutes all of the process,

pleadings, and orders served on Defendants prior to the removal of this action.

                                 STANDARD FOR REMOVAL

       3.      Defendants file this Notice of Removal pursuant to 28 U.S.C. § 1441(a), which

provides that “any civil action brought in a State court of which the district courts of the United

States have original jurisdiction, may be removed,” and pursuant to 28 U.S.C. § 1446(b), which

provides that notice of removal “shall be filed within thirty days after the receipt by the defendant,

through service or otherwise, of a copy of the initial pleading.”

       4.      Defendants are filing this Notice of Removal within thirty (30) days of the receipt

of the Complaint.

                           FEDERAL QUESTION JURISDICTION

       5.      Under 28 U.S.C. § 1331, this Court has original jurisdiction over all claims arising

under the laws of the United States.

       6.      Here, Defendants’ alleged violation of the FDCPA constitutes a claim being

brought under the laws of the United States.

       7.      Moreover, under 28 U.S.C. § 1367, this Court has supplemental jurisdiction over

any potential claims brought pursuant to any state, county, or local law that form part of the same

controversy.

       8.      Here, jurisdiction is conferred on this Court, pursuant to 28 U.S.C. § 1367,

concerning any claim that Plaintiff may assert in his complaint, which arises under the same facts

and that form part of the same controversy.

       9.      Accordingly, this action presents claims arising under the laws of the United States

thereby conferring jurisdiction on this Court pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1367.



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       10.     Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) because the United

States District Court for the District of New Jersey, Newark Division is the district and division

within which this lawsuit is pending (Essex County, New Jersey).

       11.     Contemporaneous with the filing of this Notice of Removal, Defendants have given

written notice to Plaintiff and have filed a copy of this Notice of Removal with the Clerk of the

Superior Court of New Jersey, Essex County, Law Division, as well as a Notice of Filing the

Petition for Removal.

       12.     By filing this Notice of Removal, Defendants do not waive any rights or defenses,

and expressly reserve all rights and defenses that they may have with respect to Plaintiff's Action.

                                    PRAYER FOR RELIEF

       WHEREFORE, Defendants hereby give notice that this action is removed to the United

States District Court for the District of New Jersey.

Dated: August 19, 2021

                                              Respectfully submitted,

                                               GORDON REES SCULLY MANSUKHANI
                                               LLP
                                               Attorneys for Defendants
                                               Financial Recovery Services, Inc. and LVNV
                                               Funding, LLC


                                               By:       /s/ Peter G. Siachos
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To:    Yongmoon Kim
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